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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

DISH NETWORK L.L.C.,                             )
                                                 )
                      Plaintiff,                 )
       v.                                        )
                                                 )    C.A. No. 19-1262 (RGA)
SERVERLOGY CORPORATION and                       )
DOES 1-5, individually and together              )
d/b/a East IPTV,                                 )
                     Defendants.                 )

                             [PROPOSED] SCHEDULING ORDER

               This ____ day of September 2019, the Court having conducted an initial

Rule 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having

determined after discussion that the matter cannot be resolved at this juncture by settlement,

voluntary mediation, or binding arbitration;

               IT IS ORDERED that:

               1.     Rule 26(a)(1) Initial Disclosures.      Unless otherwise agreed to by the

parties, the parties shall serve their initial disclosures pursuant to Federal Rule of Civil

Procedure 26(a)(1) on or before September 30, 2019.

               2.     Joinder of Other Parties and Amendment of Pleadings. All motions to join

other parties, and to amend or supplement the pleadings, shall be filed on or before

December 13, 2019.

               3.     Discovery.

                      a.       Discovery Cut Off. All fact discovery in this case shall be initiated

so that it will be completed on or before June 12, 2020.

                      b.       Document Production. Document production shall be substantially

complete by April 10, 2020.
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                       c.      Requests for Admission. A maximum of 50 requests for admission

are permitted for each side.

                       d.      Interrogatories.   A maximum of 25 interrogatories, including

contention interrogatories, are permitted for each side.

                       e.      Depositions.

                               i.     Limitation on Hours for Deposition Discovery. Each side

is limited to a total of 45 hours of taking testimony by deposition upon oral examination.

                               ii.    Location of Depositions.       Any party or representative

(officer, director, or managing agent) of a party filing a civil action in this district court must

ordinarily be required, upon request, to submit to a deposition at a place designated within this

district. Exceptions to this general rule may be made by order of the Court or by agreement of

the parties. A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff

shall be considered as having filed an action in this Court for the purpose of this provision.

                       f.      Disclosure of Expert Testimony.

                               i.     Expert Reports. For the party who has the initial burden of

proof on the subject matter, the initial Federal Rule 26(a)(2) disclosure of expert testimony is due

on or before April 10, 2020. The supplemental disclosure to contradict or rebut evidence on the

same matter identified by another party is due on or before May 22, 2020. No other expert

reports will be permitted without either the consent of all parties or leave of the Court. Along

with the submissions of the expert reports, the parties shall advise of the dates and times of their

experts’ availability for deposition. Any expert depositions shall be taken no later than June 12,

2020.




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                               ii.     Objections to Expert Testimony.           To the extent any

objection to expert testimony is made pursuant to the principles announced in Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall

be made by motion no later than the deadline for dispositive motions set forth herein, unless

otherwise ordered by the Court.

                       g.      Discovery Matters and Disputes Relating to Protective Orders.

Should counsel find they are unable to resolve a discovery matter or a dispute relating to a

protective order, the parties involved in the discovery matter or protective order dispute shall

contact the Court’s Case Manager to schedule a hearing. Unless otherwise ordered, by no later

than forty-eight hours prior to the hearing, the party seeking relief shall file with the Court a

letter, not to exceed three pages, outlining the issues in dispute and its position on those issues.

By no later than twenty-four hours prior to the hearing, any party opposing the application for

relief may file a letter, not to exceed three pages, outlining that party’s reasons for its opposition.

Should any document(s) be filed under seal, a courtesy copy of the sealed document(s) must be

provided to the Court within one hour of e-filing the document(s).

               If a discovery-related motion is filed without leave of the Court, it will be denied

without prejudice to the moving party’s right to bring the dispute to the Court through the

discovery matters procedures set forth in this Order.

               4.      Application to Court for Protective Order. Should counsel find it will be

necessary to apply to the Court for a protective order specifying terms and conditions for the

disclosure of confidential information, counsel should confer and attempt to reach an agreement

on a proposed form of order and submit it to the Court within ten days from the date of this




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Order. Should counsel be unable to reach an agreement on a proposed form of order, counsel

must follow the provisions of Paragraph 3(g) above.

              Any proposed protective order must include the following paragraph:

               Other Proceedings. By entering this order and limiting the
               disclosure of information in this case, the Court does not intend to
               preclude another court from finding that information may be
               relevant and subject to disclosure in another case. Any person or
               party subject to this order who becomes subject to a motion to
               disclose another party’s information designated as confidential
               pursuant to this order shall promptly notify that party of the motion
               so that the party may have an opportunity to appear and be heard
               on whether that information should be disclosed.

               5.     Papers Filed Under Seal. When filing papers under seal, counsel shall

deliver to the Clerk an original and one copy of the papers. A redacted version of any sealed

document shall be filed electronically within seven days of the filing of the sealed document.

               6.     Courtesy Copies. The parties shall provide to the Court two courtesy

copies of all briefs and one courtesy copy of any other document filed in support of any briefs

(i.e., appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers

filed under seal.

               7.     Case Dispositive Motions. All case dispositive motions, an opening brief,

and affidavits, if any, in support of the motion shall be served and filed on or before July 10,

2020. No case dispositive motion under Rule 56 may be filed more than ten days before the

above date without leave of the Court.

               8.     Applications by Motion.       Except as otherwise specified herein, any

application to the Court shall be by written motion. Any non-dispositive motion should contain

the statement required by Local Rule 7.1.1.

               9.     Pretrial Conference.    On November 13, 2020, the Court will hold a

Rule 16(e) final pretrial conference in Court with counsel beginning at 8:30 a.m. The parties


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shall file a joint proposed final pretrial order in compliance with Local Rule 16.3(c) no later than

5:00 p.m. on the third business day before the date of the final pretrial conference. Unless

otherwise ordered by the Court, the parties shall comply with the timeframes set forth in Local

Rule 16.3(d) for the preparation of the proposed joint final pretrial order.

               10.     Motions in Limine. Motions in limine shall not be separately filed. All in

limine requests and responses thereto shall be set forth in the proposed pretrial order. Each party

shall be limited to three in limine requests, unless otherwise permitted by the Court. The in

limine request and any response shall contain the authorities relied upon; each in limine request

may be supported by a maximum of three pages of argument and may be opposed by a

maximum of three pages of argument, and the party making the in limine request may add a

maximum of one additional page in reply in support of its request. If more than one party is

supporting or opposing an in limine request, such support or opposition shall be combined in a

single three page submission (and, if the moving party, a single one page reply). No separate

briefing shall be submitted on in limine requests, unless otherwise permitted by the Court.

               11.     Trial.   This matter is scheduled for a 3 day bench trial beginning at

9:30 a.m. on December 1, 2020, with the subsequent trial days beginning at 9:30 a.m. The trial

will be timed, as counsel will be allocated a total number of hours in which to present their

respective cases.

               12.     ADR Process. This matter is referred to a magistrate judge to explore the

possibility of alternative dispute resolution.



                                                 _________________________________
                                                 JUDGE RICHARD G. ANDREWS
                                                 UNITED STATES DISTRICT COURT JUDGE




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